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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov

In re:                                                              Chapter 11

LIBERTY POWER HOLDINGS, LLC,                                        Case No. 21-13797-PDR

         Debtor.

                                             /

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of Notice of Hearing [ECF No. 12]

on Debtor’s Emergency Motion to Compel (I) Turnover of all Books, Records, Systems and

Processes Related to the Debtor and its Operation in the Possession and Control of Liberty

Power Corp. LLC, (II) Access to Corporate Premises, and (III) For Related Relief [ECF No. 11]

and Declaration of Bob Butler, Proposed Chief Restructuring Officer of the Debtor, in Support

of Chapter 11 Petition and First Day Motions [ECF No. 10] was served via electronic mail and

CM/ECF Notification upon all interested parties registered to receive electronic notification on

this 21st day of April, 2021 and/or via U.S. Mail or e-mail as indicated on the Service List below

on the 22nd day of April, 2021.

                                             Respectfully Submitted,

                                             GENOVESE JOBLOVE & BATTISTA, P.A.
                                             Proposed Attorneys for Debtors-in-Possession
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                                             Miami, Florida 33131
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                                     SERVICE LIST

Served Via CM/ECF Notification

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Served via U.S. Mail/E-Mail upon:

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Served Via U.S. Mail
All parties on the attached mailing matrix.




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